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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

ABBVIE INC. and ABBVIE                       )
BIOTECHNOLOGY LTD                            )
                                             )
Plaintiffs,                                  )
                                             )
v.                                           )       Civil Action No. ____________
                                             )
SANDOZ INC., SANDOZ GMBH, and                )
SANDOZ INTERNATIONAL GMBH                    )
                                             )
Defendants.                                  )
                                             )



                                         COMPLAINT

                                      INTRODUCTION

        1.     AbbVie’s scientists and clinicians invested decades developing the

groundbreaking drug HUMIRA®, the first fully human antibody ever approved by the U.S. Food

and Drug Administration (“FDA”), and expanding its use into a variety of diseases and patient

populations. Over one million patients have benefited from AbbVie’s pioneering work. And the
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United States Patent and Trademark (“USPTO”) has recognized AbbVie’s innovation, awarding

over 100 patents relating to HUMIRA®.

           2.    Numerous biosimilar companies—including Defendants Sandoz Inc., Sandoz

GmbH, and Sandoz International (“Sandoz” or “Defendants”)—have taken note of AbbVie’s

success as well, attempting to make copycat versions of HUMIRA®. When confronted with

AbbVie’s patents, these companies took their best shots, filing 20 inter partes review (“IPR”)

proceedings at the Patent Trial and Appeal Board (“PTAB”) of the USPTO. Despite the lower

burden of proof (a preponderance of the evidence rather than clear and convincing evidence) and

the high invalidation rate in IPRs, the PTAB has rejected the overwhelming majority of these

challenges. Of particular relevance here, the PTAB has rejected eight challenges to AbbVie

patents directed to formulating adalimumab (the active ingredient of HUMIRA®), and three

challenges to patents directed to treatment of inflammatory bowel diseases, including the patent-

in-suit.

           3.    Sandoz has itself lost six IPR proceedings at the PTAB on patents relating to

HUMIRA®, including one of the patents-in-suit. In each case, the PTAB held that Sandoz failed

to establish a reasonable likelihood that any challenged claim would be held unpatentable.1 The

PTAB’s decisions not to institute IPRs on these patents confirms and supports their validity.

           4.    Despite its repeated, failed attacks, Sandoz has elected to put off confronting the

vast majority of AbbVie’s patents for another day, substantially delaying resolution of the

parties’ dispute. Under the Biosimilar Price Competition and Innovation Act (“BPCIA”), the


1
 See Sandoz Inc. v. AbbVie Biotechnology Ltd, Case Nos. IPR2017-01823, Decision Denying Institution of Inter
Partes Review, Paper No. 16 (P.T.A.B. February 9, 2018); IPR2017-01824, Decision Denying Institution of Inter
Partes Review, Paper No. 14 (P.T.A.B. February 9, 2018); IPR2017-01987, Decision Denying Institution of Inter
Partes Review, Paper No. 15 (P.T.A.B. March 9, 2018); IPR2017-01988, Decision Denying Institution of Inter
Partes Review, Paper No. 13 (P.T.A.B. March 9, 2018); IPR2018-0002, Decision Denying Institution of Inter Partes
Review, Paper No. 13 (P.T.A.B. May 3, 2018); IPR2018-00156, Decision Denying Institution of Inter Partes
Review, Paper No. 11 (P.T.A.B. June 5, 2018).

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United States Congress laid out a process for AbbVie to bring litigation on its patents before

Sandoz launches its biosimilar. As part of that process, AbbVie identified 84 patents, including

those that Sandoz unsuccessfully challenged before the USPTO. But the BPCIA gives Sandoz, as

the biosimilar applicant, the unilateral option to limit the number of patents that AbbVie can

assert at this stage. Sandoz has chosen to take advantage of those provisions of the BPCIA to

avoid litigating all but two of AbbVie’s 84 patents at this time.

       5.      While Sandoz can delay justice, it cannot prevent it. Pursuant to the BPCIA,

AbbVie can seek relief, including an injunction, on the remaining patents when Sandoz files a

Notice of Commercial Marketing, which it must do at least 180 days prior to launching a

biosimilar product, or as circumstances otherwise warrant. Sandoz’s choice will result in a

second wave of litigation.

       6.      AbbVie brings this first action for patent infringement to prevent Sandoz from

reaping the rewards of AbbVie’s innovation. While AbbVie has spent vast resources over

decades developing HUMIRA®, Sandoz seeks to copy AbbVie’s work and ignore AbbVie’s

patents. Sandoz had submitted an abbreviated Biologics License Application (“aBLA”) to the

FDA requesting that its biosimilar adalimumab product GP2017 be licensed for commercial sale

by relying on AbbVie’s demonstration that HUMIRA® is safe and effective. But while the

BPCIA gives Sandoz an abbreviated regulatory pathway for its biosimilar version of HUMIRA ®,

it does not give Sandoz license to infringe AbbVie’s patents. AbbVie seeks an injunction to

prevent this infringement.

       7.      HUMIRA® belongs to a category of drugs known as biologics. Biologics are

complex proteins manufactured in living cells rather than by chemical synthesis. This makes

them more difficult to develop, manufacture, formulate, and administer. Whereas small molecule



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drugs have been around for centuries, biologics are newer, larger, and more complex. Even

within the category of biologics, HUMIRA® is unique. HUMIRA® is the first fully human

antibody approved by the FDA. In bringing HUMIRA® from the laboratory to patients, AbbVie

was in uncharted territory. In 1996, AbbVie’s predecessor invented the antibody in HUMIRA®

after years of intense research. But that was only the first step. Since then, AbbVie has embarked

on two decades of research, investment, and innovation.

       8.      As part of its commitment to improve patients’ lives, AbbVie has dedicated

substantial resources to an extensive clinical trial program. AbbVie’s clinical research on

HUMIRA® includes over 100 clinical trials that resulted in FDA approval for the treatment of

ten different diseases: rheumatoid arthritis, ankylosing spondylitis, psoriatic arthritis, psoriasis,

Crohn’s disease (adult and pediatric), ulcerative colitis, hidradenitis suppurativa, uveitis, and

juvenile idiopathic arthritis. Sandoz seeks to copy the results of AbbVie’s clinical development.

       9.      To further benefit patients, AbbVie also invested in and invented subcutaneous,

high concentration, liquid formulations of the HUMIRA® antibody. Before AbbVie’s launch of

HUMIRA®, patients had to go to the hospital to receive their medicine intravenously or mix

batches of their medicine at home (which is difficult for patients with inflamed joints) and inject

themselves twice a week. As a result of AbbVie’s dedication and innovation, patients can now

inject the medicine at home, using pre-filled syringes, and take fewer injections. The added

convenience and precision has improved patients’ lives and increased compliance, without

sacrificing HUMIRA®’s safety and efficacy. Here again, Sandoz seeks to copy the results of

AbbVie’s innovative formulation work.

       10.     AbbVie seeks an injunction to prevent Sandoz from infringing two of the many

patents that reflect AbbVie’s years of innovation and research. AbbVie also reserves its right to



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assert the remaining patents infringed by Sandoz in a second wave when Sandoz provides a

Notice of Commercial Marketing, or as circumstances otherwise warrant.

                                  NATURE OF THE ACTION

       AbbVie Inc. and AbbVie Biotechnology Ltd (“ABL” and collectively with AbbVie Inc.,

“AbbVie” or “Plaintiffs”) for their Complaint against Sandoz further allege as follows:

       11.     This is a civil action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. §§ 1, et seq., including 35 U.S.C. § 271(e)(2)(C). This is also a civil

action under the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, seeking declaratory

judgments that the asserted patents are infringed.

       12.     This lawsuit results from Sandoz’s infringement of AbbVie patents that concern

AbbVie’s groundbreaking HUMIRA®.

       13.     AbbVie Inc. is the holder of Biologic License Application (“BLA”) No. 125057

for HUMIRA®, whose active pharmaceutical ingredient is the antibody adalimumab.

       14.     In 1996, after many years of intense research, AbbVie’s predecessor first created

adalimumab. Adalimumab, a biologic, is a fully human, high-affinity, and neutralizing

therapeutic antibody to human TNF-α, a protein made by the human body as part of the body’s

immune response. The mechanisms by which TNF-α affects the body are complex and not

completely understood (even today).

       15.     The invention of adalimumab was particularly noteworthy in that it is the first

fully human antibody approved by the FDA. This was hailed by the medical and scientific

community as a major breakthrough. Compared to other drugs that were available at the time,

adalimumab offered patients substantial benefits. For example, REMICADE® (infliximab),

which was a chimeric antibody, had numerous drawbacks, including, among others, the fact that



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it had to be administered by intravenous injection at an infusion center.

        16.     Inventing the adalimumab antibody itself, however, was only the first step in the

process. Following the isolation and characterization of adalimumab, AbbVie and its predecessor

Abbott Laboratories, spent more than a decade and hundreds of millions of dollars on scientific

studies and clinical trials to determine how to use HUMIRA® to treat patients for different

diseases, how to formulate HUMIRA® for administration to humans, and how to manufacture

HUMIRA®. AbbVie’s scientific and clinical investments in HUMIRA® continue to this day.

        17.     AbbVie’s innovative work has been recognized by the medical and scientific

community. For example, in 2007, HUMIRA® was awarded the Galien Prize, perhaps the most

prestigious honor in the pharmaceutical and biotechnology world.

        18.     More importantly, AbbVie’s work has benefited patients immensely. Children

have gone from wheelchairs to playgrounds, and adults have gone from bedridden to work.

AbbVie is very proud of the fact that HUMIRA® has improved the lives of more than one million

patients to date.

        19.     In seeking approval for its biosimilar adalimumab product GP2017 (the “Sandoz

aBLA Product”), Sandoz seeks to benefit from AbbVie’s substantial investment in HUMIRA®

and the two decades of time, effort, investment, and innovation by AbbVie’s scientists. Although

the BPCIA allows Sandoz an abbreviated FDA regulatory pathway, it does not give Sandoz a

license to infringe AbbVie’s intellectual property. At this time, AbbVie seeks an injunction to

prevent infringement of the two asserted AbbVie patents. When Sandoz files a Notice of

Commercial Marketing or as circumstances otherwise warrant, AbbVie will assert additional

patents.




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                                            PARTIES

       20.     Plaintiff AbbVie Inc. is a corporation organized and existing under the laws of

Delaware with its corporate headquarters at 1 North Waukegan Road, North Chicago, Illinois

60064. AbbVie Inc. is engaged in the development, sale, and distribution of a broad range of

pharmaceutical and biologic drugs.

       21.     Plaintiff ABL is a corporation organized and existing under the laws of Bermuda,

with a place of business at Clarendon House, 2 Church Street, Hamilton HM1l, Bermuda.

Through intermediate organizations, Plaintiff AbbVie Inc. owns Plaintiff ABL.

       22.     On information and belief, Defendant Sandoz Inc. is a company organized and

existing under the laws of the state of Colorado with its principal place of business at 100

College Road West, Princeton, New Jersey 08540.

       23.     On information and belief, Sandoz Inc., acting in concert with the other

Defendants, is in the business of developing, manufacturing, marketing, and selling biologic

drugs, including the proposed biosimilar version of AbbVie’s HUMIRA® (adalimumab) product,

GP2017. On information and belief, these drugs are (or will be) distributed and sold in the State

of New Jersey and throughout the United States. On information and belief, Sandoz Inc. is the

United States agent for Sandoz International GmbH and Sandoz GmbH for purposes including,

but not limited to, filing regulatory submissions to and corresponding with the FDA.

       24.     On information and belief, Sandoz Inc. operates as a subsidiary of Sandoz

International GmbH.

       25.     On information and belief, Defendant Sandoz International GmbH is a

corporation organized and existing under the laws of the Federal Republic of Germany with its

principal place of business at Industriestrasse 25, 83607 Holzkirchen, Germany.



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       26.       On information and belief, Sandoz International GmbH, acting in concert with the

other Defendants, is in the business of developing, manufacturing, marketing, and selling

biologic drugs, including the proposed biosimilar version of AbbVie’s HUMIRA® (adalimumab)

product, GP2017. On information and belief, these drugs are (or will be) distributed and sold in

the State of New Jersey and throughout the United States.

       27.       On information and belief, Defendant Sandoz GmbH is a corporation organized

and existing under the laws of the Republic of Austria with its principal place of business at

Biochemiestrasse 10, 6250 Kundl, Austria.

       28.       On information and belief, Sandoz GmbH, acting in concert with the other

Defendants, is in the business of manufacturing biologic drugs, including the proposed biosimilar

version of AbbVie’s HUMIRA® (adalimumab) product, GP2017. On information and belief,

these drugs are (or will be) distributed and sold in the State of New Jersey and throughout the

United States.

       29.       On information and belief, Sandoz GmbH operates as a subsidiary of Sandoz

International GmbH.

       30.       On information and belief, Defendants are working in concert with respect to the

U.S. regulatory approval of a proposed biosimilar version of AbbVie’s HUMIRA® (adalimumab)

product, and each Defendant intends to benefit directly from any approval of the proposed

biosimilar version of AbbVie’s HUMIRA® (adalimumab) product, including through sales of

this product in the State of New Jersey and throughout the United States.

                                 JURISDICTION AND VENUE

       31.       This is an action for patent infringement under the Patent Laws of the United

States, Title 35, United States Code and the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202.



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This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a), 2201(a), and

2202.

          32.   This Court has personal jurisdiction over each of the Defendants for the reasons

set forth below.

          A.    Sandoz Inc.

          33.   This Court has personal jurisdiction over Sandoz Inc. because, inter alia, Sandoz

Inc.’s principal place of business is in the District of New Jersey and its contacts with the State

of New Jersey are sufficient for jurisdiction. In addition, Sandoz Inc. has agreed that New Jersey

would be an appropriate venue for this lawsuit.

          34.   This Court also has personal jurisdiction over Sandoz Inc. because Sandoz Inc.

has directly or indirectly committed an act of patent infringement under 35 U.S.C. § 271(e)(2)(c)

and intends a future course of conduct that includes acts of patent infringement in New Jersey.

These acts have led and will lead to foreseeable harm and injury to Plaintiffs, including in New

Jersey.

          35.   For example, on information and belief, Sandoz Inc. has acted and/or intends to

act in concert with the other Defendants to develop, manufacture, and seek approval for the

Sandoz aBLA Product, and on information and belief, Sandoz Inc., in concert with the other

Defendants, intends to market and sell the Sandoz aBLA Product in the United States and in the

State of New Jersey if the Sandoz aBLA Product receives FDA approval.

          36.   On information and belief, Sandoz Inc. develops, manufactures, seeks regulatory

approval for, markets, distributes, and sells biopharmaceuticals for sale and use throughout the

United States, including in the State of New Jersey. On information and belief, Sandoz Inc.

purposefully has conducted and continues to conduct business, directly or indirectly, in this



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District. On information and belief, Sandoz Inc. is registered as a Manufacturer and Wholesaler

in the State of New Jersey. On information and belief, Sandoz Inc. is registered to do business in

New Jersey under entity identification number 0100097265.

        B.      Sandoz International GmbH

        37.     This Court has jurisdiction over Sandoz International GmbH because Sandoz

International GmbH’s contacts with the State of New Jersey and the United States are sufficient

for jurisdiction.

        38.     On information and belief, Sandoz International GmbH, acting in concert with the

other Defendants, has directly or indirectly committed an act of patent infringement under 35

U.S.C. § 271(e)(2)(c) and intends a future course of conduct that includes acts of patent

infringement in New Jersey and the United States. These acts have led and will lead to

foreseeable harm and injury to AbbVie, including in New Jersey and the United States.

        39.     For example, on information and belief, Sandoz International GmbH has acted

and/or intends to act in concert with, directed, and/or authorized the other Defendants to develop,

manufacture, and seek approval for the Sandoz aBLA Product, and on information and belief,

Sandoz International GmbH, in concert with the other Defendants, intends to market and sell the

Sandoz aBLA Product in the United States and in the State of New Jersey if the Sandoz aBLA

Product receives FDA approval.

        40.     On information and belief, Sandoz International GmbH has acted in concert with,

directed, and/or authorized the other Defendants to develop and seek approval for the Sandoz

aBLA Product by, inter alia, directing and/or authorizing clinical trials of the Sandoz aBLA

Product in support of Defendant Sandoz Inc.’s abbreviated Biologics License Application

(“Sandoz’s aBLA”).



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       41.     On information and belief, Sandoz International GmbH exercises considerable

control over Sandoz Inc. with respect to biosimilar products and approves significant decisions

of Sandoz Inc. such as allowing Sandoz Inc. to act as the agent for Sandoz International GmbH

in connection with preparing and filing Sandoz’s aBLA and to act as Sandoz International

GmbH’s agent in the United States.

       42.     On information and belief, Sandoz International GmbH exercises control over

Sandoz subsidiaries, including Sandoz Inc., through the Sandoz International GmbH leadership

team, which includes “Carol Lynch, President of Sandoz US and Head of North America.” On

information and belief, Ms. Lynch is the President of Sandoz Inc. as well as the Global Head of

Biopharmaceuticals at Sandoz International GmbH, and Ms. Lynch directly or indirectly reports

to the head of Sandoz International GmbH.

       43.     On information and belief, Sandoz International GmbH is actively involved with

filing Sandoz’s aBLA and the strategy for obtaining FDA approval to market and sell the Sandoz

aBLA Product in the State of New Jersey and throughout the United States, which directly gives

rise to AbbVie’s claims of patent infringement. For example, on March 6, 2017, Sandoz issued a

press release regarding Sandoz’s aBLA Product from Holzkirchen, Germany, the location of

Sandoz International GmbH. See Press Release, Sandoz International GmbH, “New Data

Demonstrate Sandoz Proposed Biosimilar Adalimumab Has Equivalent Efficacy to Reference

Medicine,” March 6, 2017, https://www.sandoz.com/news/media-releases/new-data-

demonstrate-sandoz-proposed-biosimilar-adalimumab-has-equivalent, attached hereto as Exhibit

1. Sandoz International GmbH’s press release discusses its “proposed biosimilar adalimumab

(GP2017).” Id.; see also Press Release, Sandoz International GmbH, “Sandoz Proposed

Biosimilar Adalimumab Matches Reference Biologic in Terms of Efficacy and Safety in Long-



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Term Study,” September 14, 2017, https://www.sandoz.com/news/media-releases/sandoz-

proposed-biosimilar-adalimumab-matches-reference-biologic-terms-efficacy, attached hereto as

Exhibit 2 (“Sandoz . . . today announces new data on its proposed biosimilar adalimumab.”).

       44.     On January 16, 2018, Sandoz announced that the FDA accepted the aBLA for

GP2017 from Holzkirchen, Germany. See Press Release, Sandoz International GmbH, “Sandoz

Regulatory Submission for Proposed Biosimilar Adalimumab Accepted by FDA,” January 16,

2018, https://www.sandoz.com/news/media-releases/sandoz-regulatory-submission-proposed-

biosimilar-adalimumab-accepted-fda, attached hereto as Exhibit 3. That press release included

the following quote from Mark Levick, MD, PhD: “The FDA’s acceptance of the regulatory

submission for our biosimilar adalimumab brings us one step closer to offering a portfolio of

options to the millions of patients in the US who suffer from an inflammatory disease.” On

information and belief, Dr. Levick is Global Head of Development, Biopharmaceuticals based in

Sandoz International GmbH’s Holzkirchen, Germany headquarters. On information and belief,

these press releases about the Sandoz aBLA Product and the Sandoz aBLA were on behalf of

Sandoz International GmbH.

       45.     Sandoz Inc., Sandoz International GmbH, and Sandoz GmbH hold themselves out

as a unitary entity and have represented to the public that their activities are directed, controlled,

and carried out as a single entity. For example, Sandoz International GmbH maintains an Internet

website at the URL www.sandoz.com, which states that “the name Sandoz” encompasses “a

single global brand.” See Sandoz International GmbH, “The Sandoz Brand,”

https://www.sandoz.com/about-us/who-we-are/sandoz-brand, attached hereto as Exhibit 4.

       46.     Sandoz International GmbH has previously submitted to the jurisdiction of this

Court and availed itself of the legal protections of the State of New Jersey by asserting



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affirmative defenses in the United States District Court for the District of New Jersey. See, e.g.,

Immunex Corp., et al. v. Sandoz Inc., et al., No. 16-cv-1118, ECF No. 106 (D.N.J. Sept. 21,

2016).

         47.   Additionally and alternatively, to the extent Sandoz International GmbH is not

subject to the jurisdiction of the courts of general jurisdiction of the State of New Jersey, Sandoz

International GmbH is likewise not subject to the jurisdiction of the courts of general jurisdiction

of any state and, accordingly, is subject to jurisdiction based on its aggregate contacts with the

United States, including but not limited to the above described contacts, as authorized by Federal

Rule of Civil Procedure 4(k)(2).

         C.    Sandoz GmbH

         48.   This Court has jurisdiction over Sandoz GmbH because Sandoz GmbH’s contacts

with the State of New Jersey and the United States are sufficient for jurisdiction.

         49.   On information and belief, Sandoz GmbH, acting in concert with the other

Defendants, has directly or indirectly committed an act of patent infringement under 35 U.S.C. §

271(e)(2)(c) and intends a future course of conduct that includes acts of patent infringement in

New Jersey and the United States. These acts have led and will lead to foreseeable harm and

injury to Plaintiffs, including in New Jersey and the United States.

         50.   For example, on information and belief, Sandoz GmbH has acted and/or intends

to act in concert with the other Defendants to develop, manufacture, and seek approval for the

Sandoz aBLA Product, and on information and belief, Sandoz GmbH, in concert with the other

Defendants, intends to market and sell the Sandoz aBLA Product in the United States and in the

State of New Jersey if the Sandoz aBLA Product receives FDA approval.

         51.   On information and belief, Sandoz GmbH has acted and/or intends to act in



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concert with the other Defendants to develop and seek approval for the Sandoz aBLA Product,

including by sponsoring and/or participating in clinical trials of the Sandoz aBLA Product in

support of Sandoz’s aBLA, including a “Study to Demonstrate Equivalent Efficacy and to

Compare Safety of Biosimilar Adalimumab (GP2017) and Humira (ADACCESS).” A

publication describing the study and its results stated that “Sandoz GmbH designed and

sponsored the study; participated in the collection, analysis and interpretation of the data, and in

the writing, reviewing and approval of the abstract.” Blauvelt, Andrew et al., “A randomized,

double-blind, multicenter study to compare the efficacy, safety, and immunogenicity of a

proposed adalimumab biosimilar (GP2017) with originator adalimumab in patients with

moderate-to-severe chronic plaque-type psoriasis,” J. Am. Acad. Dermatol., June 2007, at AB22,

attached hereto as Exhibit 5.

       52.     On information and belief, the Sandoz aBLA Product is or will be manufactured

at Sandoz GmbH facilities. On information and belief, Sandoz GmbH’s facilities include

biosimilar manufacturing facilities located in Schaftenau, Austria and Kundl, Austria. Sandoz

describes its plant in Schaftenau as the “facility that will be used to manufacture pre-filled

syringes and devices for . . . Sandoz’s biosimilars.” See Sandoz International GmbH, “Sandoz

Inaugurates BioInject – a new state-of-the-art biopharmaceutical manufacturing facility in

Schaftenau, Austria,” September 17, 2015, https://www.sandoz.com/news/media-

releases/sandoz-inaugurates-bioinject-new-state-art-biopharmaceutical-manufacturing, attached

hereto as Exhibit 6. Therefore, on information and belief, Sandoz GmbH actively participated in

the preparation of Sandoz’s aBLA, for example by providing information regarding the facilities

in which the Sandoz biosimilar product is manufactured, processed, packaged, or held. See 42

U.S.C. § 262(k)(2)(A)(v).



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       53.     On information and belief, the acts of Sandoz Inc. complained of herein were and

will be done, in part, for the benefit of Sandoz GmbH, which has or will directly or indirectly

manufacture, export, and sell the Sandoz aBLA Product into New Jersey and the United States.

       54.     Additionally and alternatively, to the extent Sandoz GmbH is not subject to the

jurisdiction of the courts of general jurisdiction of the State of New Jersey, Sandoz GmbH is

likewise not subject to the jurisdiction of the courts of general jurisdiction of any state, and

accordingly is subject to jurisdiction based on its aggregate contacts with the United States,

including but not limited to the above described contacts, as authorized by Federal Rule of Civil

Procedure 4(k)(2).

       D.      Venue

       55.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and/or 1400.

       56.     On information and belief, Sandoz Inc. has its principal place of business in New

Jersey and, as set forth above, is subject to personal jurisdiction in this district. Sandoz Inc. has

committed an act of infringement and intends a future course of conduct that includes acts of

patent infringement in New Jersey, as set forth above. In addition, Sandoz Inc. has agreed that

New Jersey would be an appropriate venue for this lawsuit.

       57.     On information and belief, Sandoz Inc. has a regular and established place of

business in this judicial District because, inter alia, its principal place of business is in New

Jersey. On information and belief, Sandoz Inc. maintains regular and established places of

business at One Health Plaza, Bldg. 435, East Hanover, NJ 07936 and 100 College Road West,

Princeton, NJ 08540.

       58.     As foreign entities, Sandoz International GmbH and Sandoz GmbH are subject to

suit in any jurisdiction in the United States, including the District of New Jersey. 28 U.S.C.



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§ 1391(c).

        59.     For these reasons, and for other reasons that will be presented to the Court if

jurisdiction and/or venue is challenged, the Court has personal jurisdiction over Sandoz, and

venue in this judicial district is proper.

                     THE PARTIES’ EXCHANGES UNDER THE BPCIA

        60.     On information and belief, prior to January 2018, Sandoz submitted an aBLA to

the FDA pursuant to the BPCIA, specifically 42 U.S.C. § 262(k).

        61.     The BPCIA was enacted on March 23, 2010, and created for the first time an

abbreviated pathway for approval of follow-on biologic products. 42 U.S.C. § 262(k) provides a

pathway for approval of a product that is “biosimilar” to a “reference product.” A “biosimilar”

product is defined by the BPCIA as a biological product that (1) “is highly similar to the

reference product notwithstanding minor differences in clinically inactive components” and

(2) has “no clinically meaningful differences between the biological product and the reference

product in terms of safety, purity, and potency of the product.” 42 U.S.C. § 262(i)(2). The

BPCIA defines a “reference product” to be a “single biological product licensed under

subsection (a) against which a biological product is evaluated in an application submitted under

subsection (k).” 42 U.S.C. § 262(i)(4).

        62.     Sandoz has demonstrated its intention to utilize AbbVie’s data and work

discovering and developing adalimumab through the use of the abbreviated BPCIA biosimilar

pathway.

        63.     To facilitate the protection of a biologic innovator’s patent rights, Congress

created an act of infringement related to the submission of an application under subsection

262(k), see 35 U.S.C. § 271(e)(2)(C), and enumerated a set of pre-litigation exchanges under the



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BPCIA that are outlined at 42 U.S.C. § 262(l). The subsection (l) procedures are intended to

ensure that the maker of an innovative biologic product that is the subject of a biosimilar

application will have sufficient time and opportunity to enforce its patent rights before a

biosimilar product enters the market. The BPCIA also requires that a subsection (k) applicant

give at least 180 days’ notice before the first commercial marketing of a biosimilar licensed by

the FDA. 42 U.S.C. § 262(l)(8)(A). The statute specifically contemplates injunctive relief,

including preliminary injunctive relief, to prevent unlawful infringement.

       64.     The BPCIA includes a mechanism for Sandoz to provide AbbVie a copy of its

aBLA submission and relevant manufacturing information within 20 days of the FDA accepting

the application for review. 42 U.S.C. § 262(l)(2)(A).

       65.     On January 12, 2018, Sandoz contacted AbbVie and indicated that it “has been

pursuing the filing of a 42 U.S.C. § 262(k) application” for FDA approval of “a Sandoz

biosimilar adalimumab product,” and indicating Sandoz “will make disclosure pursuant to the

exchanges discussed in 42 U.S.C. § 262(l)” to AbbVie.

       66.     On information and belief, on or before January 16, 2018, the FDA accepted

Sandoz’s aBLA.

       67.     In January 2018, the parties began exchanging information in accordance with the

procedures outlined in the BPCIA. On or about January 17, 2018, Sandoz provided outside

counsel for AbbVie and AbbVie’s designated in-house attorney with access to Sandoz’s aBLA.

Although Sandoz provided its aBLA to AbbVie, it did not at that time provide the relevant “other

information that describes the process or processes used to manufacture” the Sandoz aBLA

product, as required by the statute. 42 U.S.C. § 262(l)(2)(A). AbbVie attorneys are not permitted

under the statutory provisions of the BPCIA to consult with independent experts regarding



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Sandoz’s confidential information. 42 U.S.C. § 262(l)(1)(C).

        68.    On March 18, 2018, pursuant to 42 U.S.C. § 262(l)(3)(A), AbbVie provided

Sandoz with its list of patents for which it believed a claim of patent infringement could be

reasonably asserted against Sandoz’s aBLA Product (“AbbVie’s 3A List”). AbbVie also asked,

“in the event that Sandoz asserts that any of these patents are either not infringed or invalid

pursuant to Section (l)(3)(B)(ii)(I), . . . that Sandoz identify and provide copies of any

documentary evidence supporting those assertions, so that AbbVie may fully consider it.”

        69.    On April 24, 2018 and May 1, 2018, pursuant to 42 U.S.C. § 262(l)(7), AbbVie

provided supplemental patent lists to Sandoz, each adding a recently issued patent.

        70.    On May 16, 2018, Sandoz responded by providing AbbVie, pursuant to the

confidentiality restrictions under 42 U.S.C. § 262(l)(1), with statements pursuant to 42 U.S.C. §

262(l)(3)(B) and 42 U.S.C. § 262(l)(7)(B) contesting Sandoz’s infringement of certain patents

and the validity of those patents (“Sandoz’s 3B Statement”). Although Sandoz provided certain

additional information regarding its manufacturing process with its 3B Statement, it did not

provide information sufficient to confirm that it does not infringe each of the claims of the

patents identified by AbbVie, as AbbVie requested.

        71.    On July 15, 2018, AbbVie provided Sandoz with a detailed, approximately 1,200-

page statement pursuant to 42 U.S.C. § 262(l)(3)(C) responding to Sandoz’s allegations and

concerning the following 84 AbbVie patents (“AbbVie’s 3C Statement”):

            U.S.                                           Title
           Patent
             No.
   1.    6,805,686     Autoinjector with Extendable Needle Protector Shroud

   2.    8,216,583     Formulation of Human Antibodies for Treating TNF-α Associated
                       Disorders


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           U.S.                                      Title
          Patent
            No.
   3.   8,231,876   Purified Antibody Composition

   4.   8,663,945   Methods of Producing Anti-TNF-Alpha Antibodies in Mammalian Cell
                    Culture
   5.   8,715,664   Use of Human TNFα Antibodies for Treatment of Erosive Polyarthritis

   6.   8,795,670   Formulation of Human Antibodies for Treating TNF-Alpha Associated
                    Disorders
   7.   8,802,100   Formulation of Human Antibodies for Treating TNF-Alpha Associated
                    Disorders
   8.   8,802,101   Formulation of Human Antibodies for Treating TNF-α Associated
                    Disorders
   9.   8,802,102   Formulation of Human Antibodies for Treating TNF-α Associated
                    Disorders
   10. 8,808,700    Use of TNF Alpha Inhibitor for Treatment of Erosive Polyarthritis

   11. 8,883,156    Purified Antibody Composition

   12. 8,889,135    Methods of Administering Anti-TNFα Antibodies

   13. 8,889,136    Multiple-Variable Dose Regimen for Treating TNFα-Related Disorders

   14. 8,895,009    Purified Antibody Composition

   15. 8,906,372    Purified Antibody Composition

   16. 8,906,373    Use of TNF-alpha Inhibitor for Treatment of Psoriasis

   17. 8,906,646    Fed-batch Method of Making Human Anti-TNF-Alpha Antibody

   18. 8,911,737    Methods of Administering Anti-TNFα Antibodies

   19. 8,911,741    Fed-Batch Method of Making Human Anti-TNF-Alpha Antibody

   20. 8,911,964    Fed-Batch Method of Making Human Anti-TNF-Alpha Antibody

   21. 8,916,153    Purified Antibody Composition

   22. 8,916,157    Formulation of Human Antibodies for Treating TNF-α Associated
                    Disorders
   23. 8,916,158    Formulation of Human Antibodies for Treating TNF-α Associated
                    Disorders


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          U.S.                                       Title
         Patent
           No.
   24. 8,926,975   Method of Treating Ankylosing Spondylitis

   25. 8,932,591   Formulation of Human Antibodies for Treating TNF-α Associated
                   Disorders
   26. 8,940,305   Formulation of Human Antibodies for Treating TNF-α Associated
                   Disorders
   27. 8,961,973   Multiple-Variable Dose Regimen for Treating TNFα-Related Disorders

   28. 8,961,974   Multiple-Variable Dose Regimen for Treating TNFα-Related Disorders

   29. 8,974,790   Methods of Administering Anti-TNFα Antibodies

   30. 8,986,693   Use of TNFα Inhibitor for Treatment of Psoriasis

   31. 8,992,926   Methods of Administering Anti-TNFα Antibodies

   32. 8,999,337   Methods for Treating Juvenile Idiopathic Arthritis by Inhibition of
                   TNFα
   33. 9,017,680   Methods of Administering Anti-TNFα Antibodies

   34. 9,018,361   Isolation and Purification of Antibodies Using Protein A Affinity
                   Chromatography
   35. 9,061,005   Multiple-Variable Dose Regimen for Treating Idiopathic Inflammatory
                   Bowel Disease
   36. 9,067,992   Use of TNFα Inhibitor for Treatment of Psoriatic Arthritis

   37. 9,073,987   Methods of Administering Anti-TNFα Antibodies

   38. 9,073,988   Fed Batch Method of Making Anti-TNF-Alpha Antibodies

   39. 9,085,618   Low Acidic Species Compositions and Methods for Producing and
                   Using the Same
   40. 9,085,620   Use of TNFα Inhibitor for Treatment of Psoriatic Arthritis

   41. 9,090,689   Use of TNFα Inhibitor for Treatment of Psoriasis

   42. 9,090,867   Fed-Batch Method of Making Anti-TNF-Alpha Antibody

   43. 9,096,666   Purified Antibody Composition

   44. 9,102,723   Purified Antibody Composition



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          U.S.                                      Title
         Patent
           No.
   45. 9,114,166   Formulation of Human Antibodies for Treating TNF-α Associated
                   Disorders
   46. 9,150,645   Cell Culture Methods to Reduce Acidic Species

   47. 9,187,559   Multiple-Variable Dose Regimen for Treating Idiopathic Inflammatory
                   Bowel Disease
   48. 9,193,787   Human Antibodies that Bind Human TNF-Alpha and Methods of
                   Preparing the Same
   49. 9,200,069   Low Acidic Species Compositions and Methods for Producing and
                   Using the Same
   50. 9,200,070   Low Acidic Species Compositions and Methods for Producing and
                   Using the Same
   51. 9,220,781   Formulation of Human Antibodies for Treating TNF-Alpha Associated
                   Disorders
   52. 9,234,032   Fed-Batch Methods for Producing Adalimumab

   53. 9,255,143   Methods for Controlling the Galactosylation Profile of Recombinantly-
                   Expressed Proteins
   54. 9,266,949   Low Acidic Species Compositions and Methods for Producing and
                   Using the Same
   55. 9,272,041   Formulation of Human Antibodies for Treating TNF-Alpha Associated
                   Disorders
   56. 9,272,042   Formulation of Human Antibodies for Treating TNF-Alpha Associated
                   Disorders
   57. 9,273,132   Purified Antibody Composition

   58. 9,284,370   Methods for Treating Juvenile Idiopathic Arthritis

   59. 9,284,371   Methods of Producing Adalimumab

   60. 9,289,497   Formulation of Human Antibodies for Treating TNF-Alpha Associated
                   Disorders
   61. 9,290,568   Methods to Control Protein Heterogeneity

   62. 9,295,725   Formulation of Human Antibodies for Treating TNF-Alpha Associated
                   Disorders
   63. 9,302,011   Formulation of Human Antibodies for Treating TNF-α Associated
                   Disorders
   64. 9,315,574   Low Acidic Species Compositions and Methods for Producing and
                   Using the Same
   65. 9,327,032   Formulation of Human Antibodies for Treating TNF-Alpha Associated
                   Disorders


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          U.S.                                        Title
         Patent
           No.
   66. 9,334,319     Low Acidic Species Compositions

   67. 9,346,879     Protein Purification Methods to Reduce Acidic Species

   68. 9,359,434     Cell Culture Methods to Reduce Acidic Species

   69. 9,365,645     Methods for Controlling the Galactosylation Profile of Recombinantly-
                     Expressed Proteins
   70. 9,505,833     Human Antibodies that Bind Human TNF-Alpha and Methods of
                     Preparing the Same
   71. 9,505,834     Methods for Controlling the Galactosylation Profile of Recombinantly-
                     Expressed Proteins
   72. 9,512,216     Use of TNFα Inhibitor

   73. 9,522,953     Low Acidic Species Compositions and Methods for Producing and
                     Using the Same
   74. 9,546,212     Methods of Administering Anti-TNFα Antibodies

   75. 9,550,826     Glycoengineered Binding Protein Compositions

   76. 9,624,295     Uses and Compositions for Treatment of Psoriatic Arthritis

   77. 9,669,093     Methods for Treating Juvenile Idiopathic Arthritis

   78. 9,683,033     Cell Culture Methods to Reduce Acidic Species

   79. 9,732,152     Formulation of Human Antibodies for Treating TNF-Alpha Associated
                     Disorders
   80. 9,738,714     Formulation of Human Antibodies for Treating TNF-Alpha Associated
                     Disorders
   81. 9,750,808     Formulation of Human Antibodies for Treating TNF-Alpha Associated
                     Disorders
   82. 9,913,902     Purified Antibody Composition

   83. 9,950,066     Formulation of Human Antibodies for Treating TNF-Alpha Associated
                     Disorders
   84. 9,957,318     Protein Purification Methods to Reduce Acidic Species



       72.    During the negotiation period that followed after AbbVie provided its 3C

Statement, AbbVie engaged in good faith discussions with Sandoz. Sandoz refused to accept any

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of AbbVie’s proposals and, on August 5, 2018, provided AbbVie with the number of patents that

it would agree to be sued on. That number was one. This meant that the maximum number of

patents that could be part of this first lawsuit under the BPCIA was two, despite AbbVie’s

identification of 84 patents in the BPCIA exchange process.

       73.     On August 10, 2018, each party identified its one patent pursuant to 42 U.S.C.

§ 262(l)(5), which calls for the parties to exchange “the list of patents that the subsection (k)

applicant believes should be the subject of an action for patent infringement under paragraph (6)”

and “the list of patents . . . that the reference product sponsor believes should be the subject of an

action for patent infringement under paragraph (6).” The parties identified U.S. Patent No.

9,187,559 and U.S. Patent No. 9,750,808.

       74.     At this time, and as a result of Sandoz’s gamesmanship, AbbVie is limited to

seeking redress on two of its patents. But AbbVie will have a second opportunity, when Sandoz

provides a 180-day Notice of Commercial Marketing (or as circumstances otherwise warrant), to

assert its remaining patents. So while Sandoz’s tactics may create delay, it still must deal with

AbbVie’s patents before going to market.

                                  SANDOZ’S aBLA PRODUCT

       75.     On information and belief, Sandoz has undertaken the development of a proposed

biosimilar to AbbVie’s HUMIRA® adalimumab product.

       76.     On information and belief, Sandoz has submitted an aBLA to the FDA seeking

approval to market in the United States a biosimilar version of AbbVie’s HUMIRA®

adalimumab product.

       77.     Sandoz has made statements regarding its clinical testing of the Sandoz aBLA

Product. For example, Sandoz International GmbH has stated “Data from a long-term study of



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patients continuously treated with the proposed biosimilar or the reference medicine show that

efficacy and safety profiles of the two medicines match throughout 51 weeks of treatment in

patients with moderate-to-severe chronic plaque psoriasis.” See Exhibit 2. Sandoz has also

claimed that the “Sandoz proposed biosimilar adalimumab (GP2017) [was] shown to have

equivalent efficacy and a similar safety profile as reference medicine, Humira®.” See Exhibit 1.

        78.    In Europe, Sandoz received approval from the European Commission to market

its biosimilar adalimumab for use all indications of Humira®. See Sandoz International GmbH,

“Sandoz Receives European Commission Approval for Biosimilar Hyrimoz® (adalimumab),”

July 27, 2018, https://www.sandoz.com/news/media-releases/sandoz-receives-european-

commission-approval-biosimilar-hyrimozr-adalimumab, attached as Exhibit 7.

        79.    On information and belief, Sandoz’s aBLA seeks approval for indications for

which HUMIRA® is approved (the “Sandoz ABLA Product Indications”). See Sandoz

International GmbH, Sandoz Biosimilar Pipeline, https://www.sandoz.com/our-

work/biopharmaceuticals/sandoz-biosimilar-pipeline, attached as Exhibit 8.

        80.    On information and belief, Sandoz completed a clinical trial with the Sandoz

aBLA Product, testing its use in subjects with chronic plaque-type psoriasis, and has completed a

pharmacokinetic study. See Sandoz International GmbH, “Sandoz Regulatory Submission for

Proposed Biosimilar Adalimumab Accepted by FDA,” January 16, 2018,

https://www.sandoz.com/news/media-releases/sandoz-regulatory-submission-proposed-

biosimilar-adalimumab-accepted-fda, attached as Exhibit 9.

        81.    On information and belief, Sandoz relies upon data from this study to support its

aBLA.

        82.    On January 16, 2018, Sandoz announced that it had submitted its aBLA to the



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FDA and the FDA accepted the aBLA. See Exhibit 9.

       83.     On information and belief, the FDA has not yet decided whether to approve

Sandoz’s proposed biosimilar product or what indications to approve it for.

       84.     Sandoz has committed a statutory act of patent infringement under 35 U.S.C.

§ 271(e)(2)(C) by submitting an application seeking approval of a biological product with

respect to patents that could be identified by AbbVie pursuant to 42 U.S.C. § 262(l)(3)(A)(i).

                           ABBVIE’S ADALIMUMAB PATENTS

       85.     In the course of developing HUMIRA®, AbbVie has obtained more than 100

patents related to adalimumab, including its administration, its formulations, and the processes

for manufacturing it.

       86.     Sandoz itself has unsuccessfully challenged the validity of some of these patents,

as the PTAB declined to institute inter partes review petitions brought by Sandoz directed to five

patents identified on AbbVie’s list of patents pursuant to 42 U.S.C. §262(l)(3)(A), including U.S.

Patent Nos. 9,187,559; 9,512,216; 8,974,790; 8,911,737; and 8,802,100.

       87.     Because of Sandoz’s actions, AbbVie is limited to asserting the following two

patents in the present lawsuit: U.S. Patent No. 9,187,559 and U.S. Patent No. 9,750,808 (the

“AbbVie Patents”).

       88.     AbbVie asserts the following two patents in this suit.

                                   U.S. Patent No. 9,187,559

       89.     U.S. Patent No. 9,187,559 (the “’559 patent”), titled “Multiple-Variable Dose

Regimen for Treating Idiopathic Inflammatory Bowel Disease,” was duly and legally issued by

the USPTO on November 17, 2015. A true and correct copy of the ’559 patent is attached as

Exhibit 10.



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       90.      ABL is the owner by assignment of the ’559 patent. AbbVie Inc. is exclusively

licensed to offer for sale, sell, or have sold through distributors products that would infringe the

’559 patent in the United States. AbbVie Inc. and ABL together hold the exclusive right to

initiate, control, and defend any patent infringement litigation involving the ’559 patent.

                                    U.S. Patent No. 9,750,808

       91.      U.S. Patent No. 9,750,808 (the “’808 patent”), titled “Formulation of Human

Antibodies for Treating TNF-α Associated Disorders,” was duly and legally issued by the

USPTO on September 5, 2017. A true and correct copy of the ’808 patent is attached as Exhibit

11.

       92.      ABL is the owner by assignment of the ’808 patent. AbbVie Inc. is exclusively

licensed to offer for sale, sell, or have sold through distributors products that would infringe the

’808 patent in the United States. AbbVie Inc. and ABL together hold the exclusive right to

initiate, control, and defend any patent infringement litigation involving the ’808 patent.

                                   COUNT I
                     INFRINGEMENT OF U.S. PATENT NO. 9,187,559
       93.      AbbVie incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       94.      On information and belief, prior to January 2018, Sandoz submitted an aBLA to

the FDA seeking approval for the commercial manufacture, use, offer for sale, or sale of the

Sandoz aBLA Product, a biosimilar version of adalimumab. Adalimumab is subject to BLA No.

125057 to AbbVie Inc.

       95.      On information and belief, on or before January 16, 2018, the FDA accepted

Sandoz’s aBLA.

       96.      On January 17, 2018, Sandoz provided AbbVie with a copy of its aBLA.


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       97.     On information and belief, Sandoz intends to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the Sandoz aBLA Product promptly

upon receiving FDA approval.

       98.     On information and belief, Sandoz is actively seeking FDA approval to sell the

Sandoz aBLA Product for the Sandoz aBLA Product Indications, and for the dosages and

methods of use approved for the HUMIRA® product sold by AbbVie.

       99.     Based on confidential information disclosed to AbbVie by Sandoz pursuant to 42

U.S.C. § 262(l)(2), Sandoz’s submission of its aBLA to obtain approval to engage in the

commercial manufacture, use, offer to sell, or sale of the Sandoz aBLA Product prior to the

expiration of the ’559 patent is an act of infringement of one or more claims of the ’559 patent

under 35 U.S.C. § 271(e)(2)(C), either literally or under the doctrine of equivalents.

       100.    Based on confidential information disclosed to AbbVie by Sandoz pursuant to 42

U.S.C. § 262(l)(2) relating to the indications, dosage, and methods of use for the Sandoz aBLA

Product, and on information and belief, Sandoz’s commercial manufacture, use, sale, offer for

sale, and/or importation of the Sandoz aBLA Product (either directly or through any affiliates,

subsidiaries, and/or agents), once its aBLA is approved by the FDA, will actively induce

infringement by others of claims 1-30 of the ’559 patent under 35 U.S.C. § 271(b), either literally

or under the doctrine of equivalents.

       101.    On information and belief, Sandoz has an affirmative intent to actively induce

infringement by others of one or more claims of the ’559 patent, either literally or under the

doctrine of equivalents. On information and belief, Sandoz has filed an aBLA that includes a

proposed package insert with directions that instruct patients to administer and/or use and

medical practitioners to prescribe and/or administer the Sandoz aBLA Product.



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       102.     On information and belief, Sandoz is aware, has knowledge, and/or is willfully

blind to the fact that patients will administer and/or use and medical practitioners will prescribe

and/or administer the Sandoz aBLA Product at least according to Sandoz’s proposed package

insert and, therefore, will directly infringe claims 1-30 of the ’559 patent, either literally or under

the doctrine of equivalents.

       103.     Sandoz has knowledge of and is aware of the ’559 patent, including due to

AbbVie’s disclosure of patents pursuant to 42 U.S.C. § 262(l)(3)(A) and to the filing of this

Complaint.

       104.     On information and belief, Sandoz knowingly or with willful blindness has

induced or will induce another’s direct infringement of one or more of the claims of the ’559

patent, either literally or under the doctrine of equivalents, by at least Sandoz’s proposed package

insert for the Sandoz aBLA Product.

       105.     AbbVie will suffer irreparable injury for which damages are an inadequate

remedy unless Sandoz is enjoined from infringing the claims of the ’559 patent.

       106.     AbbVie seeks an injunction pursuant to at least 35 U.S.C. § 271(e)(4)(B)

preventing Sandoz from the commercial manufacture, use, sale, or offer for sale within and/or

importation into the United States of the Sandoz aBLA Product.

                                             COUNT II
                      INFRINGEMENT OF U.S. PATENT NO. 9,750,808
       107.     AbbVie incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       108.     On information and belief, prior to January 2018, Sandoz submitted an aBLA to

the FDA seeking approval for the commercial manufacture, use, offer for sale, or sale of the



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Sandoz aBLA Product, a biosimilar version of adalimumab. Adalimumab is subject to BLA No.

125057 to AbbVie Inc.

       109.    On information and belief, on or before January 16, 2018, the FDA accepted

Sandoz’s aBLA.

       110.    On January 17, 2018, Sandoz provided AbbVie with a copy of its aBLA.

       111.    On information and belief, Sandoz intends to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the Sandoz aBLA Product promptly

upon receiving FDA approval.

       112.    Based on confidential information disclosed to AbbVie by Sandoz pursuant to 42

U.S.C. § 262(l)(2), Sandoz’s submission of its aBLA to obtain approval to engage in the

commercial manufacture, use, offer to sell, or sale of the Sandoz aBLA Product prior to the

expiration of the ’808 patent is an act of infringement of one or more claims of the ’808 patent

under 35 U.S.C. § 271(e)(2)(C), either literally or under the doctrine of equivalents.

       113.    Based on confidential information disclosed to AbbVie by Sandoz pursuant to 42

U.S.C. § 262(l)(2) and on information and belief, Sandoz’s commercial manufacture, use, sale,

offer for sale, and/or importation of the Sandoz aBLA Product (either directly or through any

affiliates, subsidiaries, and/or agents), once its aBLA is approved by the FDA, will directly

infringe at least claims 1-10, 14-17, and 24-27 of the ’808 patent under 35 U.S.C. § 271(a), either

literally or under the doctrine of equivalents.

       114.    On information and belief, Sandoz GmbH has manufactured the Sandoz aBLA

Product for use in clinical trials, the results of which were submitted as part of Sandoz’s aBLA,

and will manufacture the Sandoz aBLA Product once it is approved by the FDA. On information

and belief, Sandoz Inc. and/or Sandoz International GmbH act in concert with and/or direct



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Sandoz GmbH to make the Sandoz aBLA Product, and thereby actively induce infringement of

at least claims 1-10, 14-17, and 24-27 of the ’808 patent under 35 U.S.C. § 271(b), either literally

or under the doctrine of equivalents.

       115.    On information and belief, Sandoz Inc., by seeking licensure for a product

manufactured by another for sale in the United States that infringes the ’808 patent, has an

affirmative intent to actively induce infringement by others of one or more claims of the ’808

patent, either literally or under the doctrine of equivalents.

       116.    On information and belief, Sandoz International GmbH, by acting in concert with,

directing, and/or authorizing Sandoz Inc. to file the Sandoz aBLA, has an affirmative intent to

actively induce infringement by others of one or more of the claims of the ’808 patent, either

literally or under the doctrine of equivalents.

       117.    On information and belief, Sandoz is aware, has knowledge, and/or is willfully

blind to the fact that Sandoz GmbH’s manufacture of the Sandoz aBLA Product directly

infringes one or more of the claims of the ’808 patent, either literally or under the doctrine of

equivalents.

       118.    Sandoz has knowledge of and is aware of the ’808 patent, including due to

AbbVie’s disclosure of patents pursuant to 42 U.S.C. § 262(l)(3)(A) and to the filing of this

Complaint.

       119.    On information and belief, Sandoz Inc. and Sandoz International GmbH

knowingly or with willful blindness has induced or will induce another’s direct infringement of

one or more of the claims of the ’808 patent, either literally or under the doctrine of equivalents,

by at least the fact that Sandoz GmbH has manufactured and/or will manufacture the Sandoz

aBLA Product for sale in the United States market.



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       120.     AbbVie will suffer irreparable injury for which damages are an inadequate

remedy unless Sandoz is enjoined from infringing the claims of the ’808 patent.

       121.     AbbVie seeks an injunction pursuant to at least 35 U.S.C. § 271(e)(4)(B)

preventing Sandoz from the commercial manufacture, use, sale, or offer for sale within and/or

importation into the United States of the Sandoz aBLA Product.

                           COUNT III
 DECLARATORY JUDGMENT OF INFRINGEMENT OF U.S. PATENT NO. 9,187,559
       122.     AbbVie incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       123.     AbbVie’s claims also arise under the Declaratory Judgment Act, 28 U.S.C.

§§ 2201 and 2202.

       124.     On information and belief, prior to January 2018, Sandoz submitted an aBLA to

the FDA seeking approval for the commercial manufacture, use, offer for sale, or sale of the

Sandoz aBLA Product, a biosimilar version of adalimumab. Adalimumab is subject to BLA No.

125057 to AbbVie Inc.

       125.     On information and belief, on or before January 16, 2018, the FDA accepted

Sandoz’s aBLA.

       126.     On January 17, 2018, Sandoz provided AbbVie with a copy of its aBLA.

       127.     On information and belief, Sandoz intends to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the Sandoz aBLA Product promptly

upon receiving FDA approval.

       128.     On information and belief, Sandoz’s submission and FDA acceptance of Sandoz’s

aBLA seeking approval for the commercial manufacture, use, offer for sale, or sale of the Sandoz

aBLA Product, a biosimilar version of adalimumab, create an actual, immediate, and real


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controversy within the Declaratory Judgment Act that Sandoz will directly and/or indirectly

infringe one or more valid and enforceable claims of the ’559 patent. A judicial determination of

infringement is necessary and appropriate to resolve this controversy.

       129.    On information and belief, Sandoz is actively seeking FDA approval to sell the

Sandoz aBLA Product for the Sandoz aBLA Product Indications, and for the dosages and

methods of use approved for the HUMIRA® product sold by AbbVie.

       130.    Based on confidential information disclosed to AbbVie by Sandoz pursuant to 42

U.S.C. § 262(l)(2), Sandoz’s submission of its aBLA to obtain approval to engage in the

commercial manufacture, use, offer to sell, or sale of the Sandoz aBLA Product prior to the

expiration of the ’559 patent is an act of infringement of one or more claims of the ’559 patent

under 35 U.S.C. § 271(e)(2)(C), either literally or under the doctrine of equivalents.

       131.    Based on confidential information disclosed to AbbVie by Sandoz pursuant to 42

U.S.C. § 262(l)(2) relating to the indications, dosage, and methods of use for the Sandoz aBLA

Product, and on information and belief, Sandoz’s commercial manufacture, use, sale, offer for

sale, and/or importation of the Sandoz aBLA Product (either directly or through any affiliates,

subsidiaries, and/or agents), once its aBLA is approved by the FDA, will actively induce

infringement by others of claims 1-30 of the ’559 patent under 35 U.S.C. § 271(b), either literally

or under the doctrine of equivalents.

       132.    On information and belief, Sandoz has an affirmative intent to actively induce

infringement by others of one or more claims of the ’559 patent, either literally or under the

doctrine of equivalents. On information and belief, Sandoz has filed an aBLA that includes a

proposed package insert with directions that instruct patients to administer and/or use and

medical practitioners to prescribe and/or administer the Sandoz aBLA Product.



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       133.     Sandoz has knowledge of and is aware of the ’559 patent, including due to

AbbVie’s disclosure of patents pursuant to 42 U.S.C. § 262(l)(3)(A) and to the filing of this

Complaint.

       134.     On information and belief, Sandoz is aware, has knowledge, and/or is willfully

blind to the fact that patients will administer and/or use and medical practitioners will prescribe

and/or administer the Sandoz aBLA Product at least according to Sandoz’s proposed package

insert and, therefore, will directly infringe claims 1-30 of the ’559 patent, either literally or under

the doctrine of equivalents.

       135.     On information and belief, Sandoz knowingly or with willful blindness has

induced or will induce another’s direct infringement of one or more of the claims of the ’559

patent, either literally or under the doctrine of equivalents, by at least Sandoz’s proposed package

insert for the Sandoz aBLA Product.

       136.     Plaintiffs seek a declaratory judgment that future commercial manufacture, use,

sale, offer for sale, and/or importation of the Sandoz aBLA Product will infringe the ’559 patent.

       137.     Unless Sandoz is enjoined from directly and indirectly infringing the ’559 patent,

Plaintiffs will suffer substantial and irreparable harm for which there is no adequate remedy at

law.

                           COUNT IV
 DECLARATORY JUDGMENT OF INFRINGEMENT OF U.S. PATENT NO. 9,750,808
       138.     AbbVie incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       139.     AbbVie’s claims also arise under the Declaratory Judgment Act, 28 U.S.C.

§§ 2201 and 2202.




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       140.    On information and belief, prior to January 2018, Sandoz submitted an aBLA to

the FDA seeking approval for the commercial manufacture, use, offer for sale, or sale of the

Sandoz aBLA Product, a biosimilar version of adalimumab. Adalimumab is subject to BLA No.

125057 to AbbVie Inc.

       141.    On information and belief, on or before January 16, 2018, the FDA accepted

Sandoz’s aBLA.

       142.    On January 17, 2018, Sandoz provided AbbVie with a copy of its aBLA.

       143.    On information and belief, Sandoz intends to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the Sandoz aBLA Product promptly

upon receiving FDA approval.

       144.    On information and belief, Sandoz’s submission and FDA acceptance of Sandoz’s

aBLA seeking approval for the commercial manufacture, use, offer for sale, or sale of the Sandoz

aBLA Product, a biosimilar version of adalimumab, create an actual, immediate, and real

controversy within the Declaratory Judgment Act that Sandoz will directly and/or indirectly

infringe one or more valid and enforceable claims of the ’808 patent. A judicial determination of

infringement is necessary and appropriate to resolve this controversy.

       145.    Based on confidential information disclosed to AbbVie by Sandoz pursuant to 42

U.S.C. § 262(l)(2), Sandoz’s submission of its aBLA to obtain approval to engage in the

commercial manufacture, use, offer to sell, or sale of the Sandoz aBLA Product prior to the

expiration of the ’808 patent is an act of infringement of one or more claims of the ’808 patent

under 35 U.S.C. § 271(e)(2)(C), either literally or under the doctrine of equivalents.

       146.    Based on confidential information disclosed to AbbVie by Sandoz pursuant to 42

U.S.C. § 262(l)(2) and on information and belief, Sandoz’s commercial manufacture, use, sale,



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offer for sale, and/or importation of the Sandoz aBLA Product (either directly or through any

affiliates, subsidiaries, and/or agents), once its aBLA is approved by the FDA, will directly

infringe at least claims 1-10, 14-17, and 24-27 of the ’808 patent under 35 U.S.C. § 271(a), either

literally or under the doctrine of equivalents.

       147.    On information and belief, Sandoz GmbH has manufactured the Sandoz aBLA

Product for use in clinical trials, the results of which were submitted as part of Sandoz’s aBLA,

and will manufacture the Sandoz aBLA Product. On information and belief, Sandoz Inc. and/or

Sandoz International GmbH act in concert with and/or direct Sandoz GmbH to make the Sandoz

aBLA Product, and thereby actively induce infringement of at least claims 1-10, 14-17, and 24-

27 of the ’808 patent under 35 U.S.C. § 271(b), either literally or under the doctrine of

equivalents.

       148.    On information and belief, Sandoz Inc., by seeking licensure for a product

manufactured by another for sale in the United States that infringes the ’808 patent, has an

affirmative intent to actively induce infringement by others of one or more claims of the ’808

patent, either literally or under the doctrine of equivalents.

       149.    On information and belief, Sandoz International GmbH, by acting in concert with,

directing, and/or authorizing Sandoz Inc. to file the Sandoz aBLA, has an affirmative intent to

actively induce infringement by others of one or more of the claims of the ’808 patent, either

literally or under the doctrine of equivalents.

       150.    Sandoz has knowledge of and is aware of the ’808 patent, including due to

AbbVie’s disclosure of patents pursuant to 42 U.S.C. § 262(l)(3)(A) and to the filing of this

Complaint.




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        151.   On information and belief, Sandoz is aware, has knowledge, and/or is willfully

blind to the fact that Sandoz GmbH’s manufacture of the Sandoz aBLA Product directly

infringes one or more claim of the ’808 patent, either literally or under the doctrine of

equivalents.

        152.   On information and belief, Sandoz Inc. and Sandoz International GmbH

knowingly or with willful blindness has induced or will induce another’s direct infringement of

one or more of the claims of the ’808 patent, either literally or under the doctrine of equivalents,

by at least the fact that Sandoz GmbH has manufactured and/or will manufacture the Sandoz

aBLA Product for sale in the United States market.

        153.   Plaintiffs seek a declaratory judgment that future commercial manufacture, use,

sale, offer for sale, and/or importation of the Sandoz aBLA Product will infringe the ’808 patent.

        154.   Unless Sandoz is enjoined from directly and indirectly infringing the ’808 patent,

Plaintiffs will suffer substantial and irreparable harm for which there is no adequate remedy at

law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their favor

against Defendants and grant the following relief:

       a.      a judgment that Sandoz has infringed or induced infringement of one or more

claims of the AbbVie Patents under 35 U.S.C. § 271(e)(2)(C);

       b.      a judgment that Sandoz has or will infringe or has or will induce infringement of

one or more claims of the AbbVie Patents by engaging in the manufacture, import, offer for sale,

sale, or use within the United States of the Sandoz aBLA Product before the expirations of the

AbbVie Patents;



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      c.       preliminary and/or permanent equitable relief, including but not limited to a

preliminary and permanent injunction that enjoins Sandoz, its officers, partners, agents, servants,

employees, parents, subsidiaries, affiliate corporations, other related business entities, and all

other persons acting in concert, participation, or in privity with them and/or their successors or

assigns from infringing the AbbVie Patents, or contributing to or inducing anyone to do the

same, by acts including the manufacture, use, offer to sell, sale, distribution, or importation of

any current or future versions of the Sandoz aBLA Product, or the use or manufacturing of which

infringes the AbbVie Patents;

       e.      a declaration that this is an exceptional case and an award to Plaintiffs of their

attorneys’ fees, costs, and expenses pursuant to 35 U.S.C. § 271(e)(4) and 35 U.S.C. § 285; and

      f.       such other relief as this Court may deem just and proper.



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Dated: August 10, 2018




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                     CERTIFICATION PURSUANT TO L. CIV. R. 11.2

       Pursuant to Local Civil Rule 11.2, Plaintiffs hereby certify that the matter in

controversy is related to the subject matter in the following actions and proceedings:

              AbbVie Inc., et al. v. Boehringer Ingelheim International GmbH, Civil Action No.
               17-1065-MSG-RL (D. Del.)
              Sandoz Inc. v. AbbVie Biotechnology Ltd, IPR2017-01824 (P.T.A.B.), appeal
               pending, Case No. 2018-2142 (Fed. Cir.)
              Sandoz Inc. v. AbbVie Biotechnology Ltd, IPR2017-01987 (P.T.A.B.)
              Sandoz Inc. v. AbbVie Biotechnology Ltd, IPR2017-01988 (P.T.A.B.)
              Sandoz Inc. v. AbbVie Biotechnology Ltd, IPR2017-02105 (P.T.A.B.)
              Sandoz Inc. v. AbbVie Biotechnology Ltd, IPR2017-02106 (P.T.A.B.)
              Sandoz Inc. v. AbbVie Biotechnology Ltd, IPR2018-00002 (P.T.A.B.), appeal
               pending, Case No. 2018-2143 (Fed. Cir.)


Dated: August 10, 2018


                                                 Respectfully,
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                     CERTIFICATION PURSUANT TO L. CIV. R. 201.1

        Pursuant to Local Civil Rule 201.1, Plaintiffs hereby certify that the matter in controversy

is not subject to compulsory arbitration in that Plaintiffs seek, inter alia, injunctive relief.



Dated: August 10, 2018                               Respectfully,

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